                            In the United States District Court
                        for the Eastern District of North Carolina
                                      Eastern Division
                                Case No.___ :___-CV-______-___



 Karol Huffman,

         On behalf of herself and those similarly
         situated,


                  Plaintiff,                              COMPLAINT AND JURY TRIAL DEMAND

         v.

 Team Carolinas, Inc. d/b/a Domino’s and Osman
 Qasim,

                  Defendants.



                           Class and Collective Action Complaint



        1.       Karol Huffman, on behalf of herself and all similarly-situated individuals, brings this action

against Defendants Team Carolinas, Inc. and Osman Qasim (“Defendants”). Plaintiff seeks appropriate

monetary, declaratory, and equitable relief based on Defendants’ willful failure to compensate Plaintiff and

similarly-situated individuals with minimum wages as required by the Fair Labor Standards Act (“FLSA”),

29 U.S.C. § 201, et seq., and the North Carolina Wage and Hour Act, N.C. Gen. Stat. 95-25.6, et seq.

        2.       Defendants operate approximately 54 Domino’s Pizza franchises in North Carolina and

South Carolina (the “Team Carolinas Domino’s” stores).

        3.       Defendants repeatedly and willfully violated the Fair Labor Standards Act and North

Carolina Wage and Hour Act by failing to adequately reimburse delivery drivers for their delivery-related




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expenses, thereby failing to pay delivery drivers the legally mandated minimum wage wages for all hours

worked.

          4.       Defendants maintain a policy and practice of underpaying their delivery drivers in violation

of the FLSA and the North Carolina Wage and Hour Act, N.C. Gen. Stat. 95-25.6, and N.C. Gen. Stat. 95-

25.8, et seq.

          5.       All delivery drivers at the Team Carolinas Domino’s stores, including Plaintiff, have been

subject to the same or similar employment policies and practices, including policies and practices with

respect to wages and reimbursement for out-of-pocket expenses.

          6.       Plaintiff brings this action on behalf of herself and similarly situated current and former

delivery drivers who elect to opt in pursuant to FLSA, 29 U.S.C. § 216(b) to remedy violations of the FLSA

wage and hour provisions by Defendants.

          7.       Plaintiff also brings this action on behalf of herself and similarly situated current and former

delivery drivers in North Carolina, pursuant to Federal Rule of Civil Procedure 23, to remedy violations of

N.C. Gen. Stat. 95-25.6 and N.C. Gen. Stat. 95-25.8, et seq.

                                             Jurisdiction and Venue

          8.       Under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b), this Court has jurisdiction over Plaintiff’s

FLSA claims.

          9.       Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiff’s North

Carolina law claims.

          10.      Venue in this Court is proper under 28 U.S.C. § 1391(b) because Plaintiff resides in this

district, and a substantial part of the events giving rise to the claim herein occurred in this district.




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                                                  Parties
Plaintiff

Karol Huffman

        11.      Plaintiff Karol Huffman is a resident of Kinston, North Carolina and, at all times material

herein, Plaintiff worked within the boundaries of the Eastern District of North Carolina.

        12.      Plaintiff was an “employee” of all of the Defendants as defined in the FLSA and the North

Carolina Wage and Hour Act, N.C. Gen. Stat. §95-25.2.

        13.      Plaintiff has given written consent to join this action.

Defendants

Team Carolinas Domino’s, Inc.

        14.      Defendant Team Carolinas, Inc. is a domestic corporation authorized to do business under

the laws of North Carolina.

        15.      Team Carolinas, Inc. is the corporate entity that appears on Plaintiff’s paystubs for the

work she completed for Defendants.

        16.      Team Carolinas, Inc. was founded by Osman Qasim.

        17.      Team Carolinas, Inc. operates the Team Carolinas Domino’s stores.

        18.      Team Carolinas, Inc. is headquartered in 102 South Link Ave., Salisbury, NC 28144.

        19.      Team Carolinas, Inc. has substantial control over Plaintiff and similarly situated

employees’ working conditions, and over the unlawful policies and practices alleged herein.

        20.      Team Carolinas, Inc. has direct or indirect control of the terms and conditions of Plaintiff’s

work and the work of similarly situated employees.

        21.      At all relevant times, Team Carolinas, Inc. maintained control, oversight, and direction

over Plaintiff and similarly situated employees, including, but not limited to, hiring, firing, disciplining,

timekeeping, payroll, reimbursements, pay rates, deductions, and other practices.


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        22.      Team Carolinas, Inc. is an “employer” of Plaintiff and similarly situated employees as that

term is defined by the FLSA and N.C. Gen. Stat. §95-25.2.

        23.      At all relevant times, Team Carolinas, Inc. has been and continues to be an enterprise

engaged in “the production of goods for commerce” within the meaning of the phrase as used in the FLSA.

        24.      Team Carolinas, Inc.’s gross revenue exceeds $500,000 per year.

Osman Qasim

        25.      Defendant Osman Qasim is an owner and operator of Team Carolinas, Inc. and the Team

Carolinas Domino’s stores.

        26.      Osman Qasim founded Team Carolinas Domino’s.

        27.      Osman Qasim is the president of Team Carolinas Domino’s.

        28.      Osman Qasim is individually liable to Team Carolinas Domino’s delivery drivers under the

definitions of “employer” set forth in the FLSA and N.C. Gen. Sta. 95-25.2 because he owns and operates

the Team Carolina Domino’s stores, serves as a manager and/or member of Team Carolinas, Inc.,

ultimately controls significant aspects of Team Carolinas Domino’s day-to-day functions, and ultimately

controls compensation and reimbursement of employees. 29 U.S.C. § 203(d).

        29.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had financial control over the operations at each of the Team Carolinas Domino’s stores.

        30.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has a role in significant aspects of the Team Carolinas Domino’s stores’ day to day

operations.

        31.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had control over the Team Carolinas Domino’s stores’ pay policies.




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          32.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had power over personnel and payroll decisions at the Team Carolinas Domino’s, stores,

including but not limited to influence of delivery driver pay.

          33.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had the power to hire, fire, and discipline employees, including delivery drivers at the

Team Carolinas Domino’s stores.

          34.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had the power to stop any illegal pay practices that harmed delivery drivers at the Team

Carolinas Domino’s stores.

          35.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had the power to transfer the assets and liabilities of Team Carolinas Domino’s.

          36.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had the power to declare bankruptcy on behalf of Team Carolinas Domino’s.

          37.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had the power to enter into contracts on behalf of each of the Team Carolinas Domino’s

stores.

          38.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim has had the power to close, shut down, and/or sell each of the Team Carolinas Domino’s

stores.

          39.      At all relevant times, by virtue of his role as owner and operator of Team Carolinas, Inc.,

Osman Qasim had authority over the overall direction of each of Team Carolinas Domino’s stores and was

ultimately responsible for their operations.

          40.      The Team Carolinas Domino’s stores function for Osman Qasim’s profit.




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        41.      Osman Qasim has influence over how the Team Carolinas Domino’s stores can run more

profitably and efficiently.

                                                 Facts

                                     Class-wide Factual Allegations

        42.      During the relevant time period, Defendants have operated approximately 54 Team

Carolinas Domino’s stores.

        43.      The primary function of the Team Carolinas Domino’s stores is to sell pizza and other food

items to customers, whether they carry out or have their food delivered.

        44.      Some or all of the Team Carolinas Domino’s stores employ delivery drivers.

        45.      Plaintiff and the similarly situated persons Plaintiff seeks to represent are current and

former delivery drivers employed by Defendants at the Team Carolinas Domino’s stores.

        46.      All delivery drivers employed at the Team Carolinas Domino’s stores over the last three

years have had essentially the same job duties—deliver pizza and other food items to customers.

        47.      When there are no deliveries to make, Defendants’ delivery drivers are required to work

inside the Team Carolinas Domino’s stores building pizza boxes, cleaning, preparing pizza and other food

items, and completing other duties inside the restaurant as necessary.

        48.      At all relevant times, Plaintiff and similarly situated delivery drivers have been paid

minimum wage or minimum wage minus a tip credit for the hours they worked while completing deliveries.

        49.      At all relevant times, Plaintiff and similarly situated delivery drivers have been paid

minimum wage or slightly above minimum wage for the hours they worked inside the restaurant.

        50.      When Defendants reduced the on-the-road payrate of Plaintiff and similarly situated

delivery drivers from full minimum wage to $4.25 per hour, they did not notify the delivery drivers of the

change, nor did they inform the delivery drivers of the requirements for taking a tip credit under the FLSA.




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        51.        Defendants require delivery drivers to maintain and pay for operable, safe, and legally

compliant automobiles to use in delivering Defendants’ pizza and other food items.

        52.        Defendants require delivery drivers to incur and/or pay job-related expenses, including but

not limited to automobile costs and depreciation, gasoline expenses, automobile maintenance and parts,

insurance, financing charges, cell phone costs, GPS charges, and other equipment necessary for delivery

drivers to complete their job duties.

        53.        Pursuant to such requirements, Plaintiff and other similarly situated employees purchase

gasoline, vehicle parts and fluids, automobile repair and maintenance services, automobile insurance,

suffered automobile depreciation and damage, financing charges, and incur cell phone and data charges all

for the primary benefit of Defendants.

        54.        Some of the Team Carolinas Domino’s stores do not track or record their delivery drivers’

actual expenses.

        55.        None of the Team Carolinas Domino’s stores track or record their delivery drivers’ actual

expenses.

        56.        Some of the Team Carolinas Domino’s stores do not reimburse delivery drivers for their

actual expenses.

        57.        None of the Team Carolinas Domino’s stores reimburse delivery drivers for their actual

expenses.

        58.        Some of the Team Carolinas Domino’s stores do not reimburse delivery drivers at the IRS

standard business mileage rate.

        59.        None of the Team Carolinas Domino’s stores reimburse delivery drivers at the IRS

standard business mileage rate.

        60.        Some of the Team Carolinas Domino’s stores do not reimburse delivery drivers at a

reasonable approximation of the delivery drivers’ expenses.


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        61.      None of the Team Carolinas Domino’s stores reimburse delivery drivers at a reasonable

approximation of the delivery drivers’ expenses.

        62.      Plaintiff and similarly situated delivery drivers receive a per-mile reimbursement payment

that is less than the IRS standard business mileage rate for each mile they drive while completing deliveries

for Team Carolinas Domino’s.

        63.      For example, Plaintiff receives $.28 per delivery for every mile she drives while making

deliveries.

        64.      According to the Internal Revenue Service, the standard mileage rate for the use of a car

during the relevant time periods have been:

                 a.       2016: 54 cents/mile
                 b.       2017: 53.5 cents/mile
                 c.       2018: 54.5 cents/mile
                 d.       2019: 58 cents/mile

        65.      The delivery drivers at Team Carolinas Domino’s have incurred even more in expenses

than those contemplated by the IRS standard business mileage rate—e.g., cell phone and data charges.

        66.      As a result of the automobile and other job-related expenses incurred by Plaintiff and other

similarly situated delivery drivers, they were deprived of minimum wages guaranteed to them by the FLSA

and North Carolina law.

        67.      At all relevant times, Defendants have applied the same pay policies, practices, and

procedures to all delivery drivers at the Team Carolinas Domino’s stores.

        68.      All of Defendants’ delivery drivers had similar experiences to that of Plaintiff. They

completed similar job duties, were subject to the same reimbursement policy; received similar

reimbursement payments; incurred similar automobile expenses; completed deliveries of similar distances

and at similar frequencies; and were paid at or near the applicable minimum wage rate or a tipped wage rate

before deducting unreimbursed vehicle costs.


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        69.      Regardless of the precise amount of the reimbursement formula at any given point in time,

Defendants’ reimbursement formula has resulted in an unreasonable underestimation of delivery drivers’

automobile expenses throughout the recovery period, causing systematic violations of the minimum wage

laws.

        70.      Because Defendants paid their drivers a gross hourly wage at precisely, or at least very close

to, the applicable minimum wage, and because the delivery drivers incurred unreimbursed automobile

expenses, the delivery drivers “kicked back” to Defendants an amount sufficient to cause minimum wage

violations. See 29 C.F.R. § 531.35.

        71.      Defendants are relying on the same flawed policy and methodology with respect to all

delivery drivers at all of the Team Carolinas Domino’s stores.

        72.      Defendants have failed to properly take a tip credit from Plaintiff’s wages and the wages of

other similarly situated delivery drivers because Defendants did not inform the drivers of the requirements

for taking a tip credit. 29 U.S.C. § 203(m); 29 C.F.R. § 531.59(b).

        73.      When they began taking a tip credit from drivers’ wages, Defendants failed to inform the

drivers of the cash wage they would ostensibly receive pursuant to the tip credit.

        74.      When they began taking a tip credit from drivers’ wages, Defendants failed to inform the

drivers of the additional amount by which the wages of the tipped employee are increased on account of the

tip credit claimed by the employer, which amount may not exceed the value of the tips actually received by

the employee.

        75.      When they began taking a tip credit from drivers’ wages, Defendants failed to inform the

drivers that all tips received by the tipped employee must be retained by the employee except for a valid tip

pooling arrangement limited to employees who customarily and regularly receive tips.




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        76.     When they began taking a tip credit from drivers’ wages, Defendants failed to inform the

drivers that the tip credit shall not apply to any employee who has not been informed of the tip credit

requirements stated in 29 C.F.R. § 531.59(b).

        77.     Defendants have failed to properly take a tip credit from Plaintiff’s wages and the wages of

similarly situated employees because, after accounting for unreimbursed expenses, Defendants have paid

delivery drivers a lower wage rate than they informed the delivery drivers they would be paid.

        78.     Defendants have willfully failed to pay federal and North Carolina state minimum wage to

Plaintiff and similarly situated delivery drivers at the Team Carolinas Domino’s stores.

                                Plaintiff’s Individual Factual Allegations

        79.     Plaintiff worked at Team Carolinas Domino’s from August 2018 to present at the Kinston,

North Carolina location.

        80.     Plaintiff was subject to the same or substantially similar compensation terms as other

drivers for the Team Carolinas Domino’s stores.

        81.     Plaintiff was originally paid minimum wage inside and outside the store of $7.25 per hour.

        82.     In September 2018, Defendants unilaterally reduced her outside rate from $7.25 per hour

to $4.50 per hour while making deliveries.

        83.     When Defendants began taking a tip credit from Plaintiff’s wages, they did not properly

inform her of the requirements for taking a tip credit.

        84.     When they began taking a tip credit from Plaintiff’s wages, Defendants failed to inform

Plaintiff of the cash wage she would ostensibly receive pursuant to the tip credit.

        85.     When they began taking a tip credit from Plaintiff’s wages, Defendants failed to inform

Plaintiff of the additional amount by which the wages of the tipped employee are increased on account of

the tip credit claimed by the employer, which amount may not exceed the value of the tips actually received

by the employee.


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        86.     When they began taking a tip credit from Plaintiff’s wages, Defendants failed to inform

Plaintiff that all tips received by the tipped employee must be retained by the employee except for a valid

tip pooling arrangement limited to employees who customarily and regularly receive tips.

        87.     When they began taking a tip credit from Plaintiff’s wages, Defendants failed to inform

Plaintiff that the tip credit shall not apply to any employee who has not been informed of the tip credit

requirements stated in 29 C.F.R. § 531.59(b).

        88.     Alternatively, Defendants have failed to properly take a tip credit from Plaintiff’s wages

because, after accounting for unreimbursed expenses, Defendants have taken more of a tip credit than they

informed Plaintiff they would be taking.

        89.     After her pay was reduced, Plaintiff was paid minimum wage minus a tip credit as an hourly

rate for all hours worked while delivering food.

        90.     Plaintiff was paid minimum wage minimum wage for all hours worked inside the restaurant.

        91.     Plaintiff was reimbursed on a per mile basis when completing deliveries for Defendants.

        92.     Plaintiff was reimbursed $.28 per mile.

        93.     Plaintiff was required to maintain and pay for operable, safe, and legally compliant

automobiles to use in delivering Defendants’ pizza and other food items.

        94.     Plaintiff was required to incur and/or pay job-related expenses, including but not limited to

automobile costs and depreciation, gasoline expenses, automobile maintenance and parts, insurance, cell

phone service, GPS service, automobile financing, and other equipment necessary for delivery drivers to

complete their job duties.

        95.     Plaintiff has purchased gasoline, vehicle parts and fluids, automobile repair and

maintenance services, automobile insurance, suffered automobile depreciation and damage, automobile

financing, and incur cell phone and data charges all for the primary benefit of Defendants.

        96.     Defendants did not track the actual expenses incurred by Plaintiff.


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        97.     Defendants did not reimburse Plaintiff based on her actual delivery-related expenses.

        98.     Plaintiff is not reimbursed at the IRS standard mileage rate for the miles she drives while

completing deliveries.

        99.     Defendants did not reasonably approximate the expenses incurred by Plaintiff while she

completed deliveries for Defendants.

        100.    During Plaintiff’s employment with Defendants, Defendants failed to adequately

reimburse Plaintiff for automobile and other job-related expenses.

        101.    Plaintiff regularly makes approximately 2 to 4 deliveries per hour during the hours she

works as a delivery driver.

        102.    Plaintiff regularly drives approximately 6-12 miles per delivery.

        103.    In 2018, for example, the IRS business mileage reimbursement has been $.545 per mile,

which    reasonably      approximated    the    automobile    expenses     incurred    delivering    pizzas.

http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. Defendants reimbursed Plaintiff $.28 per

mile. Using the 2018 IRS standard business mileage rate as a reasonable approximation of her expenses,

Defendants’ policy under-reimbursed Plaintiff by $.265 per mile ($.545-$.28). Considering Plaintiff’s

estimate of about 9 average miles per delivery, Defendants under-reimbursed her by about $2.39 per

delivery. Considering Plaintiff’s estimate of approximately 3 deliveries per hour, Defendants under-

reimbursed Plaintiff by about $7.17 per hour.

        104.    As a result of unreimbursed automobile expenses and other job-related expenses,

Defendants have failed to pay Plaintiff minimum wage as required by law.

                               Collective Action Allegations

        105.    Plaintiff brings the First Count on behalf of herself and all similarly situated current and

former delivery drivers employed at the Team Carolinas Domino’s stores owned, operated, and controlled




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by Defendants nationwide, during the three years prior to the filing of this Class Action Complaint and the

date of final judgment in this matter, who elect to opt-in to this action (the “FLSA Collective”).

        106.     At all relevant times, Plaintiff and the FLSA Collective have been similarly situated, have

had substantially similar job duties, requirements, and pay provisions, and have all been subject to

Defendants’ decision, policy, plan, practices, procedures, protocols, and rules of willfully refusing to pay

Plaintiff and the FLSA Collective minimum wage for all hours worked and failing to reimburse delivery

drivers for automobile expenses and other job-related expenses. Plaintiff’s claims are essentially the same

as those of the FLSA Collective.

        107.     Defendants’ unlawful conduct is pursuant to a corporate policy or practice.

        108.     Defendants are aware or should have been aware that federal law required them to pay

employees minimum wage for all hours worked and to fully reimburse for “tools of the trade.”

        109.     Defendants are aware or should have been aware that federal law required them to provide

detailed notice of the tip credit provisions of the FLSA before they were permitted to claim a tip credit to

count against their minimum wage obligation.

        110.     Defendants’ unlawful conduct has been widespread, repeated, and consistent.

        111.     The First Count are properly brought under and maintained as an opt-in collective action

under 29 U.S.C. § 216(b).

        112.     The FLSA Collective members are readily identifiable and ascertainable.

        113.     In recognition of the services Plaintiff has rendered and will continue to render to the FLSA

Collective, Plaintiff will request payment of a service award upon resolution of this action.

                                         Class Action Allegations

        114.     Plaintiff brings the Second and Third Counts under Federal Rule of Civil Procedure 23, on

behalf of herself and a class of persons consisting of:




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        All current and former delivery drivers employed by Defendants in the State of North
        Carolina since the date 2 years preceding the filing of Plaintiffs’ original Complaint (“Rule
        23 Class”).

        115.     The North Carolina claims, if certified for class-wide treatment, are brought on behalf of

all similarly situated persons who do not opt-out of the Rule 23 Class.

        116.     The North Carolina claims satisfy the numerosity, commonality, typicality, adequacy,

predominance, and superiority requirements of a class action pursuant to Fed. R. Civ. P. 23.

        117.     Questions of fact and law common to the Rule 23 class predominate over any questions

affecting only individual members. The questions of law and fact common to the Rule 23 Class arising from

Defendants’ actions include, without limitation:

            a. Whether Plaintiff and the members of the Rule 23 Class all drive their personal cars to
               complete deliveries for Defendants;

            b. Whether Plaintiff and the members of the Rule 23 Class are required to pay for job-related
               expenses, including but not limited to automobile costs and depreciation, gasoline
               expenses, automobile maintenance and parts, insurance, financing charges, cell phone
               costs, GPS charges, and other equipment necessary for delivery drivers to complete their
               job duties;

            c. Whether Defendants failed to pay minimum wages to members of the Rule 23 Class as
               required by the NCHWA;

            d. Whether Defendants failed to pay the Rule 23 Class all wages earned by them and promised
               to them in violation of the NCWHA;

            e. Whether Defendants reimbursed the Rule 23 Class for their actual expenses;

            f.   Whether Defendants reimbursed the Rule 23 Class at the IRS standard business mileage
                 rate;

            g. Whether Defendants reasonably approximated the expenses incurred by Plaintiff and the
               Rule 23 Class while they were completing deliveries;

            h. Whether Defendants’ formula and/or methodology used to calculate payment of
               reimbursement for vehicle expenses resulted in unreasonable under-reimbursement of the
               members of the Rule 23 Class; and

            i. Whether Defendants paid the Rule 23 Class exactly, or very close to, North Carolina’s
               minimum wage for time spent performing those duties.


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           The questions set forth above predominate over any questions affecting only individual persons,

           and a class action is superior with respect to considerations of consistency, economy, efficiency,

           fairness, and equity to other available methods for the fair and efficient adjudication of state law

           claims.

           118.      A class action is the appropriate method for the fair and efficient adjudication of this

controversy. Defendants have acted or refused to act on grounds generally applicable to the Rule 23 Class.

           119.      Plaintiff is an adequate representative of the Rule 23 Class because she is a member of the

Rule 23 Class and her interests do not conflict with the interests of the members of the Rule 23 Class that

she seeks to represent. The interests of the members of the Rule 23 Class will be fairly and adequately

protected by Plaintiff and the undersigned counsel, who have extensive experience prosecuting complex

wage and hour, employment, and class action litigation.

           120.      Maintenance of this action as a class action is superior to other available methods for fairly

and efficiently adjudicating the controversy as members of the Rule 23 Class have little interest in

individually controlling the prosecution of separate class actions, no other litigation is pending over the same

controversy, it is desirable to concentrate the litigation in this court due to the relatively small recoveries

per member of the Rule 23 Class, and there are no material difficulties impairing the management of a class

action.

           121.      It would be impracticable and undesirable for each member of the Rule 23 Class who

suffered harm to bring a separate action. In addition, the maintenance of separate actions would place a

substantial and unnecessary burden on the courts and could result in inconsistent adjudications, while a

single class action can determine, with judicial economy, the rights of all Rule 23 Class members.

           122.      The number and identity of the Rule 23 Class members are ascertainable from Defendants’

records.




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        123.     The hours assigned and worked, the positions held, deliveries completed, and the rates of

pay and reimbursements paid for each Rule 23 Class Member are determinable from Defendants’ records.

        124.     Notice can be provided by means permissible under Rule 23.

        125.     The Rule 23 Class member are so numerous that joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court.

        126.     There are more than 50 Rule 23 Class members.

        127.     Plaintiff’s claims are typical of those claims which could be alleged by any Rule 23 Class

member, and the relief sought is typical of the relief which would be sought by each Rule 23 Class member

in separate actions.

        128.     Plaintiff and the Rule 23 Class members have all sustained similar types of damages as a

result of Defendants’ failure to comply with

        129.     In recognition of the services Plaintiff has rendered and will continue to render to the Rule

23 Class, Plaintiff will request payment of a service award upon resolution of this action.

                                           Causes of Action

                                                Count 1
                       Failure to Pay Minimum Wages - Fair Labor Standards Act
                            (On Behalf of Plaintiff and the FLSA Collective)

        130.     Plaintiff restates and incorporates the foregoing allegations as if fully rewritten herein.

        131.     Plaintiff and the FLSA Collective are or were non-exempt, hourly employees entitled to

receive no less than minimum wage for all hours worked.

        132.     Defendants failed to properly claim a tip credit from the wages of Plaintiff and the FLSA

collective because Plaintiff and the FLSA collective were paid a wage rate lower than Defendants informed

them that they would be paid.

        133.     Defendants paid Plaintiff and the FLSA Collective at or close to minimum wage for all

hours worked.

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          134.   Defendants required and continue to require Plaintiff and the FLSA Collective to pay for

automobile expenses and other job-related expenses out of pocket, and failed to properly reimburse Plaintiff

and the FLSA Collective for said expenses.

          135.   By the acts and conduct described above, Defendants willfully violated the provisions of

the FLSA and disregarded the rights of Plaintiff and the FLSA Collective.

          136.   Plaintiff and the FLSA Collective have been damaged by Defendants’ willful failure to pay

minimum wage as required by law.

          137.   As a result of Defendants’ willful violations, Plaintiff and the FLSA Collective are entitled

to damages, including, but not limited to, unpaid wages, unreimbursed expenses, liquidated damages, costs,

and attorneys’ fees.

                                               Count 2
                       Failure to Pay Minimum Wages – N.C. Gen. Stat. 95-25.6
                             (On Behalf of Plaintiff and the Rule 23 Class)

          138.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten herein.

          139.   The North Carolina Wage and Hour Act states that every employer shall pay every

employee all wages and tips accruing to the employee on the regular payday. See N.C. Gen. Stat. 95-25.6.

          140.   By their policy of failing to fully reimburse for their delivery-related expenses, which

constitute de facto deductions from pay, by failing to properly claim a tip credit from the wages of the Rule

23 class, and by failing to otherwise pay the wages due to Plaintiff and the Rule 23 Class under N.C. Gen.

Stat. 95-25.6, Defendants have failed to pay all wages and tips due to their delivery drivers by their regular

payday.

          141.   Defendants did not act in good faith when they violated the North Carolina Wage and Hour

Act.




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        142.    Plaintiff and the Rule 23 Class are entitled to their unpaid wages and unlawful deductions,

liquidated damages in an amount equal to their unpaid wages and unlawful deductions, and interest for the

two years preceding the filing of the complaint in this matter.

        143.    Plaintiff and the Rule 23 Class are further entitled to recover attorneys’ fees and costs.

        144.    As a result of Defendants’ willful violations, Plaintiff and the Rule 23 Class are entitled to

damages, including, but not limited to, unpaid wages, unreimbursed expenses, liquidated damages, costs,

and attorneys’ fees.

                                              Count 3
                           Withholding of Wages – N.C. Gen. Stat. §95-25.8
                            (On Behalf of Plaintiff and the Rule 23 Class)

        145.    Plaintiff restates and incorporates the foregoing allegations as if fully rewritten herein.

        146.    The North Carolina Wage and Hour Act states than an employer is permitted to withhold

a portion of an employee’s wages provided that the employer has written authorization from the employee

which is signed on or before the payday for the pay periods for which the deduction is made; indicated the

reason for the deduction; and states the actual dollar amount of wages which shall be deducted from one or

more paychecks. See N.C. Gen. Stat. 95-25.8(a)(2).

        147.    Defendants have not obtained written authorization from the Plaintiff or the Rule 23 Class

to withhold a portion of their wages to cover their delivery-related expenses, which constitute de facto

deductions from pay.

        148.    Defendants have not obtained written authorization from Plaintiff or the Rule 23 Class to

withhold a portion of their wages on account of the FLSA tip credit.

        149.    Defendants did not act in good faith when they violated the North Carolina Wage and Hour

Act.




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         150.    Plaintiff and the Rule 23 Class are entitled to their unpaid wages and unlawful deductions,

liquidated damages in an amount equal to their unpaid wages and unlawful deductions, and interest for the

two years preceding the filing of the complaint in this matter.

         151.     Plaintiff and the Rule 23 Class are further entitled to recover their attorneys’ fees and

costs.

         152.    As a result of Defendants’ willful violations, Plaintiff and the Rule 23 Class are entitled to

damages, including, but not limited to, unpaid wages, unreimbursed expenses, liquidated damages, costs,

and attorneys’ fees.

         WHEREFORE, Plaintiff Karol Huffman prays for the following relief:

         A.      Designation of this action as a collective action on behalf of the collective action members

and prompt issuance of notice to all similarly-situated members of an opt-in class, apprising them of this

action, permitting them to assert timely wage and hour claims in this action, and appointment of Plaintiffs

and their counsel to represent the collective action members.

         B.      Unpaid minimum wages, unpaid overtime wages, reimbursement of expenses, and an

additional and equal amount as liquidated damages pursuant to the FLSA and supporting regulations for

Plaintiffs and the FLSA Collective.

         C.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure.

         D.      Designation of Plaintiff as representative of the Rule 23 Class and counsel of record as Class

Counsel.

         E.      A declaratory judgment that the practices complained of herein are unlawful under the

North Carolina Wage and Hour Act.

         F.      An award of unpaid wages, unlawful deductions, and withheld wages due under the North

Carolina Wage and Hour Act.



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        G.      An award of liquidated damages under the North Carolina Wage and Hour Act.

        H.      An award of interest under the North Carolina Wage and Hour Act.

        I.      An award of prejudgment and post-judgment interest.

        J.      An award of costs and expenses of this action, together with reasonable attorneys’ fees and

expert fees.

        K.      Such other legal and equitable relief as the Court deems appropriate.



                                        Respectfully submitted,

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                     Counsel for Plaintiff




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                                            JURY DEMAND

         Plaintiffs hereby demand a jury trial by the maximum persons permitted by law on all issues

herein triable to a jury.

                                                 /s/ Mary- Ann Leon
                                                 Mary-Ann Leon




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